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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  ID IMAGE SENSING LLC,                          )
                                                 )
         Plaintiff,                              ) C.A. No. 20-136-RGA-JLH
                                                 )
  v.                                             ) JURY TRIAL DEMANDED
                                                 )
  OMNIVISION TECHNOLOGIES, INC.,                 )
                                                 )
         Defendant.                              )


                         NOTICE OF SUPPLEMENTAL AUTHORITY

         OmniVision respectfully submits the decision in Roche Diagnostics Corporation v. Meso

  Scale Diagnostics, LLC, --- F.4th ---, 2022 WL 1052320 (Fed. Cir. Apr. 8, 2022) (attached as Ex.

  1) as precedential supplemental authority in support of its Motion to Strike IIS’s March 22, 2022

  Infringement Contentions (D.I 108). OmniVision may rely on this case during the discovery

  dispute teleconference scheduled for April 19, 2022 before the Court.




                                                  /s/ Kelly E. Farnan                       .
       OF COUNSEL:                                Kelly E. Farnan (#4395)
                                                  Valerie A. Caras (#6608)
       BARACK FERRAZZANO                          RICHARDS, LAYTON & FINGER, P.A.
       KIRSCHBAUM & NAGELBERG, LLC                One Rodney Square
       David H. Bluestone                         920 N. King St.
       david.bluestone@bfkn.com                   Wilmington, DE 19801
       Michael D. Educate                         (302) 651-7700
       michael.educate@bfkn.com                   farnan@rlf.com
       200 West Madison Street                    caras@rlf.com
       Suite 3900
       Chicago, Illinois 60606                    Attorneys for Defendant OmniVision
       (312) 984-3100                             Technologies, Inc.

       Dated: April 18, 2022
